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iN THE UNITED srArEs DIsTRlCT CoURT F"‘ED BY -~»' _»_ D.c.

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVIsIoN 95 JUL 25 PH 3= 33
MARY ANN LAZAR, CLE`%%*S;A§¢T:§:§;
Piaimiff, "
v. No. os-zses-B/P

EZPAWN TENNESSEE, INC. ,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Disqualify Plaintiff’s Counsel filed on July 22, 2005,

This motion is referred to the United States Magistrate Judge for determination Any objections
to the magistrate judge’s order shall be made within ten (10) days after service of the order, setting
forth particularly those portions of the order objected to and the reasons for the objections Failure to
timely assign as error a defect in the magistrate judge’s order will constitute a Waiver of that objection
_S_t; Rule 72(a), Federal Rules of Civil Procedure.

IT rs so oRI)ERED this 2_§ day of Ju1y, 2005

  
  

 

. DANIEL BREEN\
D sTATEs DISTRICT JUDGE

 

DI"ISTRCT OURT - WESTNER ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:03-CV-02868 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed

 

 

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Honorable J. Breen
US DISTRICT COURT

